                    Case 1:11-cr-00076-JRH-BKE Document 78 Filed 06/24/15 Page 1 of 1
Ao 24?(l01llj                Motionfof Senrence
                Orde!Regardins               Reduct;otr    to l8 u S.C.{ 3582(cX2)
                                                     Pursuant                                                                               for Public DiscLosure)

                                                                                                                        . DISTRICT
                                                                                                                                 COURT
                                                          UNITED STATESDISTRICTCOURT                                    AUGI]STADIV.
                                                                     for the
                                                                                                                . ?0,5
                                                                                                                     JUfi2f ttr It: 30
                                                            SouthemDistrict of Georgia
                                                                 AugustaDivision                              cttR
                      UnitedStatesof America
                                       V.
                                                                                  N o : C R l l l - 0 0 0 7 5 - 0 0a1n dC R l 1 1 - 0 0 0 7 6 - 0 0 1
                                                                               Case
                Lindell Antonio Givens, aka "Head"
                                                                               USMNo:16915-021
Date of Original Judgment:         N o v e m b e1r 7 . 2 0 1 1                 JamesPete Theodocion
Date ofPrevious Amended Judgment: Not Applicable                               D€fendant'sAttomey
(UseDateafLastAnended       rIAry)
                     Judgnent


                       Order Regarding Motion for SentenceReduction Pursuant to 18 U.S.C. $ 3582(cX2)

       Upon motion of f]the defendant!the Directorof the Bureauof PrisonsSth"                   und"r 18 U.S.C.
                                                                           guideline      "ou.t range that has
$ 3582(cX2)  for a reduction in the term of imprisonment imposed basedon a           sentencing
subsequently  beenloweredandmaderetroactiveby the United StatesSentencing      Commissionpursuantto 28 U.S,C.
S 99a(u), and having consideredsuch motion, and taking into accountthe policy statementset forth at USSG $ I B L 10 and
the sentencingfactorssetfofih in l8 U.S.C.$ 3553(a),to the extentthat they are applicable,

IT IS ORDERED that the motion rs:
 p OeNmn.                                                                                  inthetast
           ! CnaNfnO and the defendant'spreviously imposedsentenceof imprisonmenttusrcJtected     Judsmenl
              *sueQ of         months is reduced to


                                                (CotnpleteParts I and II of Page 2 when motion is granted)




Except as othenyiseprovided above, a1lprovisions oftJrejudgment dated                  November 17,2011. shall remain in effect.
IT IS SO OR.DERED.
                                 -/    I
OrderDate:            ____.1-   4/.11,/,zot (



Effective Date:                                                                J. RandalHall
                      N o v e m b e r1 . 2 0 1 5                               United StatesDistrict Judge
                         (if di|fercnt froh odet d.tte)                                        Prirtrd no^, oriliiJ--
